                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:20-CV-00314-KDB-DSC


 LIVINGSTON & HAVEN LLC et. al.,                 )
                                                 )
                  Plaintiffs,                    )
                                                 )
 v.                                              )                     ORDER
                                                 )
 PHILIP J. MORIN III et. al.,                    )
                                                 )
                 Defendants.                     )



       THIS MATTER is before the Court on the “Motion[s] for Admission Pro Hac Vice and

Affidavit[s] [for John D. Shea and Zachary E. Danner]” (documents ##39-40) filed November 5,

2020. For the reasons set forth therein, the Motions will be granted


       The Clerk is directed to send copies of this Order to counsel for the parties and to the

Honorable Kenneth D. Bell.


       SO ORDERED.                    Signed: November 5, 2020




      Case 3:20-cv-00314-KDB-DSC Document 41 Filed 11/05/20 Page 1 of 1
